                       Case 2:22-cv-00367-CCW Document 26-1 Filed 08/22/22 Page 1 of 19

Tony W. Wong                                                                                                     LOS ANGELES ·
Raymond Y. Chan+                                D&R I.P. LAW FIRM                                             IRVINE · SAN JOSE
Albert Justin Lum^
Patricia L. Ray^                              A Professional Law Corporation                                 BEIJING · SHANGHAI
Peter K. Chu*
Benjamin Hung*
                                                108 N. Ynez Ave., Suite 213                               SHENZHEN · HANGZHOU

Jeson Lin Kuang~                                 Monterey Park, CA 91754                                    NINGBO · SHAOXING
Jack Zhang~
David Xiangming Meng~
                                                   Tel.: (626) 447-7788                                        WUHAN · FOSHAN
                                                    Fax: (626) 447-7783                                    TAIWAN · HONG KONG
*Of Counsel
+Reg. Patent Agent (US)
                                                www.davidandraymond.com                                    VIETNAM · MALAYSIA
^Reg. Patent Attorney (US)                          www.dnriplaw.com
~Reg. Patent Attorney (China)




            eBay Legal Department, and eBay Seller Services
            2065 Hamilton Ave, San Jose, CA 95125


            Re: Urgent Legal Action needed in response to Judicial Injunction

            Dear eBay legal Department and eBay Seller Services
            This law firm represents Chuanqi Liu in pursuit of enforcement of his Design Patent on a unique bicycle
            saddle, United States Patent No. D879,488S. Successful legal action has been taken after discovering that
            infringing bicycle saddles are being sold on the eBay Marketplace.
            Please be advised that pursuant to that effort, a Judicial Injunction has been issued by Western District of
            Pennsylvania in CHUANQI LIU vs. FOUJOY, YBEKI, LINGMAI, SUNJOYCO, FANCYES,
            AUCARKEE, DAWAY, MONDAY, LAUS, SIHMQIK, NEUFLY, ACCOT, SGODDE, NOVASHION,
            EBIKELING, IPOW, NONBRAND, YQ&TL, WUSUOWEI, GAODINGD, DAOZX (collectively
            “Defendants”), Case No. 2:22-CV-00367 on May 31 requiring immediate actions on the part of the eBay
            Marketplace. Each of Defendants unauthorized infringing items is shown in Schedule A and Schedule B
            (with the link of 7 Defendants we can find in eBay), attached to this letter.
            A copy of the Injunction is attached. Pursuant to this Order, within 5 business days, disable any and all
            accounts and/or services used by Defendants to market, advertise, sell, and/or offer for sale the Infringing
            Products and any goods in conjunction with the Infringing Products. See Injunction Paragraph 6. Please
            be advised that“YLG” and “X WING” brands are not Defendants but are legal patent licensees authorized
            by Patentee Chuanqi Liu.
            It is also ordered that within 2 business days eBay must identify any and all accounts and/or funds
            associated with the Defendants online marketplace accounts and restrain and enjoin any accounts and/or
            funds from being transferred or disposed and provide to the undersigned information sufficient to show
            the amounts restrained. See Injunction Paragraph 7.




                                                                                                                        1

                                                         Exhibit 1
       Case 2:22-cv-00367-CCW Document 26-1 Filed 08/22/22 Page 2 of 19

In support of carrying out the Order, please provide to the undersigned, within 5 business days, all
documents in your possession, custody, or control relating to:
       a.      The identities of and all contact information, including email addresses, related to Defendants
and any entities having any ownership or control over any online marketplace account operated by
Defendants;
       b.      The identities of any online marketplace accounts owned, operated, or controlled by
Defendants and their officers, affiliates, agents, and/or employees, specifically including any marketplace
accounts;
       c.      Any and all sales made by the Defendants and other entities identified in response to
paragraph (a) and the online marketplace accounts identified in response to paragraph (b);
       d.      Any and all financial accounts owned, operated, or controlled by Defendants and/or their
officers, affiliates, agents, and/or employees used in conjunction with the sale and/or offering for sale of
Infringing Products, where Infringing Products includes any wing shape bicycle seat sold by Defendants.
These requirements are clearly articulated by Judge Weigand in the attached injunction.
It is imperative that the eBay Marketplace cooperate in taking the steps that are directed in that injunction.
Please respond to the undersigned with an acknowledgment of actions taken pursuit to this legal directive.
Respectfully
Patricia Ray, Attorney for Chuanqi Liu
Email: raypatricia@yahoo.com

D&R I.P. LAW FIRM, APLC




                                              Exhibit 1
         Case 2:22-cv-00367-CCW Document 26-1 Filed 08/22/22 Page 3 of 19



Page 3




 N    Defendant         Sample
                                 SCHEDULE A
                                          ASIN        Trademark              Business              Link
 u                                                     Address               Address
 m
 be
  r
 1     FOUJOY                          B07WCLZHK    No.1,Ln1066,San      Ningbo Zhenhai      https://www.amaz
                                       H            wu Rd,Luotuo         Yongcheng Zhiyi     on.com/FOUJOY-
                                                    St,Zhenhai           Co.,Ltd.            Comfortable-
                                                    Ningbo, 315000                           Oversized-
                                                                         Room 11-4, No.      Breathable-
                                                                         1, Lane 1066,       Replacement/dp/B
                                                                         Sanwu Road,         07WLYRZMV/ref=sr
                                                                         Luotuo street,
                                                                                             _1_204?dchild=1&k
                                                                         Zhenhai District,
                                                                                             eywords=bike+seat
                                                                         Ningbo,
                                                                         Zhejiang,315202,    &qid=1610060201
                                                                         CN                  &sr=8-204

 2       YBEKI                         B0824TCM5N   Yao Jianbing         Shenzhen shirui          https://www.a
                                                    INDIVIDUAL           tenuo trading       mazon.com/YBEKI
                                                    CHINA                company Ltd.        -Comfortable-Seat-
                                                                                             Bicycle-Thickened-
                                                    No.44, Jitouling     501, No. 95,        Breathable/dp/B082
                                                    Group, Huangjia      GangbianFang,       4TCM5N/ref=sr_1_
                                                    Village Taiyuan      Futian              16?dchild=1&keyw
                                                    Village, Nanfeng     community,          ords=bike+seat&qi
                                                    County Fuzhou,       Futian street,      d=1610059238&sr=
                                                    Jiangxi, 344000      Futian District,    8-16
                                                                         Shenzhen,
                                                                         Guangdong,5180
                                                                         00,CN
 3    LINGMAI                          B07C68LZKV   Shunde District of   Feng Sha He              https://www.a
                                                    Foshan Shun Di       geng xin cun Da     mazon.com/LING
                                                    commerce Co.,        Dao 9 lane,         MAI-Comfortable-
                                                    Ltd. CHINA           No6，Fo Shan         Oversize-
                                                                         Shi，Shun De Du      Stationary-
                                                    the New Village      Da Liang，           Oversize-
                                                    of Sand Lane No.                         02/dp/B07C68LZK
                                                                         528300，CN
                                                    9 Fengsha,                               V/ref=pd_di_sccai_
                                                    Daliang Shunde                           33?pd_rd_w=4LLV
                                                    District FoShan,                         J&pf_rd_p=c94432
                                                    Guangdong                                70-b914-4430-
                                                    CHINA 528300                             a90b-
                                                                                             72e3e7e784e0&pf_
                                                                                             rd_r=C1H9M16065
                                                                                             J8YRTP70QW&pd
                                                                                             _rd_r=b81b33f3-
                                                                                             36f3-47f0-8b63-
                                                                                             5e7e82a25af3&pd_
                                                                                             rd_wg=iKK2H&pd
                                                                                             _rd_i=B07C68LZK
                                                                                             V&psc=1

 4    SUNJOYCO                         B088Z1XJ5H   Shenzhen             853 E Ohio Ave,     https://www.amazo
                                                    Neoteric             Denver,             n.com/Comfortable
                                                    Technology           Colorado,80209,     -Suspension-
                                                    Development          US                  Waterproof-
                                                    CO., LTD                                 Replacement-
                                                    CHINA                                    Stationary/dp/B088
                                                                                             Z1XJ5H/ref=sr_1_3
                                                    RM 1202A FLR                             02?dchild=1&keyw
                                                    2 BLDG 1                                 ords=bike+seat&qi
                                                    Bachelor                                 d=1610061432&sr=
                                                    Dormitory Meilin                         8-302
                                                    Duoli Industry
                                                    Area, Beihuan
                                                    Rd. Futian
                                                    Distr.,Shenzhen,
                                                    518000




                                     Exhibit 1
         Case 2:22-cv-00367-CCW Document 26-1 Filed 08/22/22 Page 4 of 19



Page 4

 5   FANCYES                           B098348D21   Du,Mingzheng        shenzhen yinan             https://www.a
                                                    INDIVIDUAL          trading company        mazon.com/Fancye
                                                    CHINA               Ltd.                   s-Oversize-Bicycle-
                                                    Group               101, Yinfeng           Replacement-
                                                    6,Qianxiaohuai      building, No. 2,       Universal/dp/B098
                                                    Vil Huangfu         Haihua Road,           348D21/ref=sr_1_2
                                                    Tn,Wanrong          zone 50, Haihua        98?crid=X5YP3W2J
                                                    County Xuzhou       community,
                                                                                               GEQV&dchild=1&k
                                                    CHINA 471002        Xin'an street,
                                                                                               eywords=bike+seat
                                                                        Bao'an District,
                                                                        Shenzhen,              +oversized&qid=16
                                                                        Guangdong,             30626558&sprefix=
                                                                        518000, CN             bike+seat+overs%2
                                                                                               Caps%2C235&sr=8-
                                                                                               298

 6   AUCARKEE                          B093KD3RVS   Shenzhen            202, building 1,           https://www.a
                                                    saihailun           No. 4, Tiancheng       mazon.com/Oversiz
                                                    Technology Co.,     Road, Gaofeng          ed-Comfortable-
                                                    Ltd，CHINA           community,             Cushion-Absorbing-
                                                    Rm.301, Bldg.11,    Dalang street,         Waterproof/dp/B0
                                                    Heyueju,            Longhua District,      93KD3RVS/ref=sr_1
                                                    Niushipu Rd         Shenzhen,              _29?crid=3PJ700C2
                                                    Henggang St.,       Guangdong,
                                                                                               BAO0S&dchild=1&k
                                                    Longgang Dist.      518109, CN
                                                                                               eywords=bike+seat
                                                    ShenZhen
                                                                                               +oversized&qid=16
                                                    CHINA 518173
                                                                                               30620484&sprefix=
                                                                                               bike+seat+over%2C
                                                                                               aps%2C249&sr=8-
                                                                                               29

 7    DAWAY                            B08S3H18B8   Chen JianXi                                    https://www.a
                                                    INDIVIDUAL          UGOOD LTD.             mazon.com/DAWA
                                                    CHINA                                      Y-Oversized-
                                                    No.612,No.5         1942 Broadway          Comfortable-Bike-
                                                    Liyuan Bachelor     Street,STE 314C,       Seat/dp/B08S3H18
                                                    Block,Luohu         Boulder,Co,            B8/ref=sr_1_24?cri
                                                    District Shenzhen   80302, US              d=3PJ700C2BAO0S
                                                    CHINA 518000
                                                                                               &dchild=1&keywor
                                                                                               ds=bike+seat+overs
                                                                                               ized&qid=1630620
                                                                                               484&sprefix=bike+s
                                                                                               eat+over%2Caps%2
                                                                                               C249&sr=8-24

 8   MONDAY                            B08CZTKRZ1   N/A                 TaiAn DongYuan              https://www.a
                                                                        MenYe Co., Ltd.        mazon.com/Comfor
                                                                        CHINA                  t-Bicycle-Oversize-
                                                                                               Waterproof-
                                                                        Laocheng sub           Cruiser/dp/B08CZT
                                                                        district office, No.   KRZ1/ref=sr_1_11
                                                                        11 Jianshe Road,       6?dchild=1&keywo
                                                                        Tai'an City,           rds=bike+seat&qid
                                                                        Feicheng City,         =1610059836&sr=8
                                                                        Shandong               -116
                                                                        Province, 27100,
                                                                        CN
 9       LAUS                          B091THB2ZQ   Shenzhen Pinlv                                 https://www.a
                                                    Technology Co.,     eboeee storefront      mazon.com/LAUS-
                                                    Ltd. CHINA                                 Oversized-Comfort-
                                                                                               Comfortable-
                                                    F/D9, Bldg.5,       No. 11, No. 13,        Replacement/dp/B
                                                    Software Ind.       No. 15, No. 14,        091THB2ZQ/ref=sr_
                                                    Base, No.16         No. 16, Haitian        1_39?crid=3PJ700C
                                                    Haitian 2 Rd.,      Second Road,
                                                                                               2BAO0S&dchild=1&
                                                    Binhai              Binhai
                                                                                               keywords=bike+sea
                                                    Community           community,
                                                    Nanshan             Yuehai street, D9      t+oversized&qid=1
                                                    Dist.,Shenzhen      floor, building 5,     630620484&sprefix
                                                    CHINA 518000        software industry      =bike+seat+over%2
                                                                        base, Nanshan          Caps%2C249&sr=8-
                                                                        District,              39
                                                                        Shenzhen,
                                                                        Guangdong,
                                                                        518000, CN




                                     Exhibit 1
         Case 2:22-cv-00367-CCW Document 26-1 Filed 08/22/22 Page 5 of 19



Page 5

 10   SIHMQIK                          B089T6721K   Shenzhen            Shenzhen                 https://www.amaz
                                                    Chameiee Leather    Chameiee leather    on.com/dp/B089T6721
                                                                                            K/ref=sspa_dk_detail_
                                                    Co.,Ltd. limited    Co., Ltd            6?psc=1&pd_rd_i=B08
                                                    company (ltd.)                          9T6721Kp13NParams
                                                    CHINA               Rm                  &spLa=ZW5jcnlwdGV
                                                                        201,No.29,Longd     kUXVhbGlmaWVyPU
                                                    Rm                  a Community,        EyR09XUldYT082Wk
                                                    201,No.29,Longd     Hongji Rd           xRJmVuY3J5cHRlZEl
                                                                                            kPUExMDAxMjEyUF
                                                    a Community,        Longdong            pFQk1ZMzRZSDczJm
                                                    Hongji Rd           Area,Longgang       VuY3J5cHRlZEFkSW
                                                    Longdong            Str,Longgang        Q9QTAyMTkyNzEyM
                                                    Area,Longgang       Dist                UpHQjRITVBXRTc5J
                                                    Str,Longgang        Shenzhen,518116     ndpZGdldE5hbWU9c3
                                                                                            BfZGV0YWlsMiZhY3
                                                    Dist Shenzhen       , CN                Rpb249Y2xpY2tSZW
                                                    CHINA 518000                            RpcmVjdCZkb05vdEx
                                                                                            vZ0NsaWNrPXRydW
                                                                                            U=

 11   NEUFLY                           B08VFQWC4Y   Shenzhen Weida      Shenzhen                https://www.a
                                                    Trading             hongruimiao         mazon.com/NEUFL
                                                    Technology Co.,     Trade Co., Ltd      Y-Oversized-
                                                    Ltd. CHINA                              Comfort-Bicycle-
                                                    2602, Block 4,      1103, No. 4, 1st    Waterproof/dp/B0
                                                    Haixuan Plaza, 89   lane,               8VFQWC4Y/ref=sr_
                                                    Jinlong Rd,         CHANGKENG           1_10?crid=3PJ700C
                                                    Luogang             District, Yangmei
                                                                                            2BAO0S&dchild=1&
                                                    Community, Buji     community,
                                                                                            keywords=bike+sea
                                                    St Longgang Dist,   Bantian street,
                                                    Shenzhen,           Longgang            t+oversized&qid=1
                                                    CHINA 518000        District,           630620484&sprefix
                                                                        Shenzhen,           =bike+seat+over%2
                                                                        Guangdong           Caps%2C249&sr=8-
                                                                        Province, 518000,   10
                                                                        CN
 12    ACCOT                           B07X6CT7NF   ShenZhenShi         Shenzhenshi             https://www.a
                                                    LeMeng Network      Longhuaqu           mazon.com/ACCO
                                                    Technology          Dalangjiedao,She    T-Waterproof-
                                                    Co.LTD              nzhen,518000,CN     Bicycle-Cushion-
                                                    LIMITED                                 Univesal/dp/B07X6
                                                    LIABILITY                               CT7NF/ref=sr_1_7
                                                    COMPANY                                 3?dchild=1&keywo
                                                    CHINA                                   rds=bike+seat&qid
                                                                                            =1610059238&sr=8
                                                                                            -73




 13   SGODDE                           N/A          Shenzhen Yisi       N/A                      https://www.a
                                                    Technology Co.,                         mazon.com/SGOD
                                                    Ltd limited                             DE-Oversized-
                                                    company (ltd.)                          Comfortable-
                                                    CHINA                                   Stationary-
                                                                                            Waterproof/dp/B08
                                                                                            6JMKL4Z/ref=sr_1
                                                                                            _202?dchild=1&ke
                                                                                            ywords=bike+seat&
                                                                                            qid=1610060201&s
                                                                                            r=8-202




 14   NOVASHIO                         N/A          N/A                 N/A                      https://www.w
         N                                                                                  almart.com/ip/Over
                                                                                            sized-Comfort-
                                                                                            Bike-Seat-Most-
                                                                                            Comfortable-
                                                                                            Replacement-
                                                                                            Bicycle-Saddle-
                                                                                            Universal-Fit-
                                                                                            Exercise-Outdoor-
                                                                                            Bikes-Suspension-
                                                                                            Wide-Soft-
                                                                                            Padded/437078869




                                     Exhibit 1
         Case 2:22-cv-00367-CCW Document 26-1 Filed 08/22/22 Page 6 of 19



Page 6

 15   EBIKELING                        B08XFS73MQ   EFE International   5658 W Fillmore           https://www.amazo
                                                                                            n.com/dp/B08XBYL4B8/
                                                    Inc AKA             St,Chicago, IL,     ref=sspa_dk_detail_1?psc
                                                    Ebikeling           60644, US           =1&pd_rd_i=B08XBYL4
                                                    CORPORATION                             B8&pd_rd_w=MKu3q&p
                                                                                            f_rd_p=7771f1a2-d77a-
                                                    ILLINOIS Suite                          4098-a19e-
                                                    107 2246 Palmer                         6d9a1e65f44d&pd_rd_wg
                                                    Dr Schaumburg                           =9VsWf&pf_rd_r=JJJ0J0
                                                    ILLINOIS 60173/                         3JEZ51S2X9S89D&pd_r
                                                                                            d_r=852e1d1b-0574-
                                                    5658 W Fillmore                         4720-8678-
                                                    St, Chicago,                            8e851272ab80&smid=A1
                                                    IL,60644, US                            8NQE175QQAZM&spLa
                                                                                            =ZW5jcnlwdGVkUXVhb
                                                                                            GlmaWVyPUEyR09XUl
                                                                                            dYT082WkxRJmVuY3J5
                                                                                            cHRlZElkPUEwNjQ3NT
                                                                                            gyMUVKMTY4SDhRVk
                                                                                            pCUyZlbmNyeXB0ZWR
                                                                                            BZElkPUExMDI4NzMw
                                                                                            NTlVREhDSjZCMldPJnd
                                                                                            pZGdldE5hbWU9c3BfZ
                                                                                            GV0YWlsJmFjdGlvbj1jb
                                                                                            Glja1JlZGlyZWN0JmRv
                                                                                            Tm90TG9nQ2xpY2s9dH
                                                                                            J1ZQ==


 16      IPOW                          B08TQTBZY8   Shenzhen Jingdu     Shenzhen Houxin          https://www.ama
                                                    Technology Co.,     Trading Co., Ltd.   zon.com/IPOW-
                                                    Ltd. CHINA          C1-707, Building    Oversized-Thickened-
                                                                                            Waterproof-
                                                    3A02, Bldg. A,      C, Bantian
                                                                                            Universal/dp/B08TQTB
                                                    Huashenghui,        International       ZY8/ref=sr_1_52?crid=
                                                    Qianjin 2nd Rd.     Center,Huanchen     3PJ700C2BAO0S&dchil
                                                    Xixiang St.,        g South Road No.    d=1&keywords=bike+s
                                                    Bao'an Dist.        5, Ma'antang        eat+oversized&qid=16
                                                    Shenzhen City       Community,          30620484&sprefix=bik
                                                    CHINA               Bantian             e+seat+over%2Caps%2
                                                                        St.Longgang         C249&sr=8-52
                                                                        District,
                                                                        Shenzhen,Guangd
                                                                        ong,518000,CN




 17   NONBRAND                         B08BJW9SWQ   N/A                 N/A                      https://www.ama
                                                                                            zon.com/Seat-
                                                                                            Oversized-
                                                                                            Comfortable-Cushion-
                                                                                            Extra-Replacement-
                                                                                            Universal-
                                                                                            Soft/dp/B08BJW9SWQ
                                                                                            /ref=sr_1_227?crid=X5
                                                                                            YP3W2JGEQV&dchild=
                                                                                            1&keywords=bike+seat
                                                                                            +oversized&qid=16306
                                                                                            25930&sprefix=bike+se
                                                                                            at+overs%2Caps%2C23
                                                                                            5&sr=8-227

 18    YQ&TL                           B0972ZQQTK   N/A                 N/A                      https://www.ama
                                                                                            zon.com/YQ-TL-
                                                                                            Comfortable-
                                                                                            Replacement-Ball-
                                                                                            Universal/dp/B0972ZQ
                                                                                            QTK/ref=sr_1_248?crid
                                                                                            =X5YP3W2JGEQV&dchi
                                                                                            ld=1&keywords=bike+s
                                                                                            eat+oversized&qid=16
                                                                                            30625930&sprefix=bik
                                                                                            e+seat+overs%2Caps%
                                                                                            2C235&sr=8-248


 19   WUSUOWE                          B09C5MCHF5   N/A                 N/A                      https://www.ama
         I                                                                                  zon.com/Wusuowei-
                                                                                            Oversized-Bicycle-
                                                                                            Comfortable-
                                                                                            Replacement/dp/B09C
                                                                                            5MCHF5/ref=sr_1_280
                                                                                            ?crid=X5YP3W2JGEQV
                                                                                            &dchild=1&keywords=
                                                                                            bike+seat+oversized&q
                                                                                            id=1630626330&sprefi
                                                                                            x=bike+seat+overs%2C
                                                                                            aps%2C235&sr=8-280




                                     Exhibit 1
          Case 2:22-cv-00367-CCW Document 26-1 Filed 08/22/22 Page 7 of 19



Page 7

 20   GAODINGD                          B09D9F1YNT   N/A           N/A                https://www.ama
                                                                                 zon.com/GAODINGD-
                                                                                 Shock-Absorbing-
                                                                                 Comfortable-Electric-
                                                                                 Oversized/dp/B09D9F1
                                                                                 YNT/ref=sr_1_291?crid
                                                                                 =X5YP3W2JGEQV&dchi
                                                                                 ld=1&keywords=bike+s
                                                                                 eat+oversized&qid=16
                                                                                 30626330&sprefix=bik
                                                                                 e+seat+overs%2Caps%
                                                                                 2C235&sr=8-291


 21    DAOZX                            B0932GTV43   N/A           N/A                https://www.ama
                                                                                 zon.com/DAOZX-
                                                                                 Comfortable-
                                                                                 Oversized-Breathable-
                                                                                 Universal/dp/B0932K7
                                                                                 TSJ/ref=sr_1_301?crid=
                                                                                 X5YP3W2JGEQV&dchil
                                                                                 d=1&keywords=bike+s
                                                                                 eat+oversized&qid=16
                                                                                 30626810&sprefix=bik
                                                                                 e+seat+overs%2Caps%
                                                                                 2C235&sr=8-301




                             SCHEDULE B
  NUMBER              SELLER NAME                              ITEM URL


                                            https://www.ebay.com/itm/325220338511?hash=item4b
      1                  YBEKI
                                                      b8a48b4f:g:MrUAAOSw9bpilQJk


                                            https://www.ebay.com/itm/224814048214?hash=item34
      2                 LINGMAI
                                                      57f623d6:g:d5oAAOSw1T1h9bjx


                                            https://www.ebay.com/itm/393597435218?hash=item5b
      3                  DAWAY
                                                      a43c3d52:g:2G8AAOSwxj9hTuR6


                                            https://www.ebay.com/itm/393597435218?hash=item5b
      4                   LAUS
                                                      a43c3d52:g:2G8AAOSwxj9hTuR6


                                            https://www.ebay.com/itm/125006355619?hash=item1d
                                                      1af59ca3:g:ew4AAOSw911hlE~O


                                            https://www.ebay.com/itm/194418512043?hash=item2d
                                                      443f10ab:g:xOQAAOSw-CRhXR9I

                                            https://www.ebay.com/itm/154990792491?hash=item24
                                            162bcf2b:g:BHsAAOSw0LxifIxf&amdata=enc%3AAQ
      5                 SIHMQIK             AHAAAA4ItoP%2Bb8hpEQsdkpOdR1ywK4C4xbaiI9
                                            fB34UDRZbPO71LJFuZQkXrs91DMmNLFSsCPI58W
                                            s7vdkHUUa9F11me3ISrC7etCaAonTQkEflYYs6XD1p




                                      Exhibit 1
         Case 2:22-cv-00367-CCW Document 26-1 Filed 08/22/22 Page 8 of 19



Page 8

                                          NijP%2B9GVoRxoV6M3EjZmCgTTHRuHChoCAs2hi
                                          lKsphekrD21csPQmLiP%2FMqUj9Sn1rgYx3AhFvg4s
                                          IuINSG%2F%2FTmtvGkzGXGQlI8Jk4G8SqoMCFSP
                                          WFVbEEMsfM8oNbaBbL6Z7S82PUvHqb%2FhQenC
                                          HfRLbLVVoZVNFVX7zpejw%2FT0j%2BgDyoqfxuM
                                                   eO3U%7Ctkp%3ABFBMisrDtadg
                                          https://www.ebay.com/itm/313762837847?epid=12039
     6                                    360498&hash=item490db8f557:g:nT4AAOSwOnphmp
                                                                  9H

                                          https://www.ebay.com/itm/254906565291?epid=12039
                        ACCOT             360498&hash=item3b599d82ab:g:xrsAAOSw7fJgUnI
                                                                  U

                                          https://www.ebay.com/itm/313880888686?epid=12039
                                          360498&hash=item4914c2456e:g:J30AAOSw9cBiD6T
                                                                  K


                                          https://www.ebay.com/itm/274707280072?hash=item3f
     7                EBIKELING
                                                    f5d470c8:g:xJsAAOSw4e9hHrWZ




                                     Exhibit 1
        Case
         Case2:22-cv-00367-CCW
               2:22-cv-00367-CCW Document
                                  Document26-1
                                           22 Filed
                                               Filed 05/31/22
                                                     08/22/22 Page
                                                              Page 19 of
                                                                      of 719




                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA


CHUANQI LIU,

                 Plaintiff,                                              2:22-CV-00367-CCW

        vs.

FOUJOY, YBEKI, LINGMAI, SUNJOYCO,
FANCYES, AUCARKEE, DAWAY,
MONDAY, LAUS, SIHMQIK, NEUFLY,
ACCOT, SGODDE, NOVASHION,
EBIKELING, IPOW, NONBRAND,
YQ&TL, WUSUOWEI, GAODINGD,
DAOZX,

                 Defendants.



                                PRELIMINARY INJUNCTION ORDER

        Whereas Plaintiff filed an Ex Parte Application (the “Application”) for the following: (1)

a Temporary Restraining Order, (2) an Order Restraining Assets and Merchant Storefronts, and

(3) an Order to Show Cause Why a Preliminary Injunction Should Not Issue as to the Defendants

identified in Schedule “A” to the Complaint.1 The Court has considered the Application, the

evidence in the record, and the applicable law.

        Whereas on May, 18, 2022, the Court entered an Order on the Application which

included the following: (1) a Temporary Restraining Order; (2) an Order Restraining Assets and

Merchant Storefronts,2, 3 (3) an Order to Show Cause Why a Preliminary Injunction Should Not

1
  As alleged in the Complaint, Defendants are knowingly and intentionally promoting, advertising, distributing,
offering for sale, and selling patent infringing versions of Plaintiff’s bicycle saddle design (the “Infringing
Products”) which infringe at least one claim of U.S. Design Patent No. US D879,488 S (“Plaintiff’s Design Patent”
or “the ‘488 patent”) throughout the United States, including within the Commonwealth of Pennsylvania and this
district, by operating fully interactive, commercial Internet based e-commerce stores accessible in Pennsylvania, via
at least the Amazon.com and eBay.com Internet market place platforms operating using the seller identities
identified on Schedule “A” to the Complaint (the “Seller IDs”).
2
  A “Merchant Storefront” is any and all User Accounts through which Defendants, their respective officers,



                                                    Exhibit 1
        Case
          Case
             2:22-cv-00367-CCW
               2:22-cv-00367-CCWDocument
                                 Document26-1
                                           22 Filed
                                              Filed 08/22/22
                                                    05/31/22 Page
                                                             Page 10
                                                                  2 ofof719




Issue as to the Defendants identified in the attached Schedule “A” to the Complaint. In addition,

pursuant to Plaintiff’s Ex Parte Motion for an Order Authorizing Alternative Service on

Defendants, this Court on May 10, 2022, granted a Motion for Alternative Service, pursuant to

Federal Rule of Civil Procedure 4(f)(3), thereby authorizing service by email or web posting.

         WHEREAS, pursuant to the terms of the Alternative Service Order, the Defendants have

been served with notice of the Show Cause Order and none have entered an appearance or filed

an opposition.

                                                          ORDER

I.       Restraining Order

         A. IT IS HEREBY ORDERED that, as sufficient cause has been shown, the injunctive

relief previously granted on May 18, 2022, shall remain in place through the pendency of this

litigation, and issuing this Preliminary Injunction (hereafter “PI Order”) is warranted under

Federal Rule of Civil Procedure 65 and 35 U.S.C. §§ 171, 271. Pursuant to the terms of the

Alternative Service Order, the Defendants have been served with notice of this Show Cause

Hearing and none have entered an appearance or filed on opposition to the Show Cause Order.

Accordingly, each Defendant, its officers, directors, employees, agents, subsidiaries, distributors,


employees, agents, servants and all persons in active concert or participation with any of them operate storefronts to
manufacture, import, export, advertise, market, promote, distribute, display, offer for sale, sell and/or otherwise deal
in products, including Infringing Products, which are held by or associated with Defendants, their respective
officers, employees, agents, servants and all persons in active concert or participation with any of them. Also as
alleged in the Complaint, Defendants are using Plaintiff’s Design Patent without authorization and are infringing on
Plaintiff’s Design Patent rights, namely the ‘488 Patent, by promoting, selling, offering for sale, and/or distributing
within this district and throughout the United States products that infringe on the ‘488 Patent by operating e-
commerce stores established via the Internet Marketplace websites Amazon.com and eBay.com (and potentially
others) under their Store Names and Seller Names identified on Schedule “A” to the Complaint (the “Seller IDs”).
3
  “User Account” is, as defined in the Complaint, any and all accounts with online marketplace platform(s)
Amazon.com, eBay.com as well as any and all as yet undiscovered accounts with additional online marketplace
platforms held by or associated with Defendants, their respective officers, employees, agents, servants and all other
persons in active concert with any of them. A “Merchant Storefront” is any and all User Accounts through which
Defendants, their respective officers, employees, agents, servants and all persons in active concert or participation
with any of them operate storefronts to manufacture, import, export, advertise, market, promote, distribute, display,
offer for sale, sell and/or otherwise deal in products which are held by or associated with Defendants, their
respective officers, employees, agents, servants and all persons in participation with any of them.



                                                     Exhibit 1
                                                           2
      Case
        Case
           2:22-cv-00367-CCW
             2:22-cv-00367-CCWDocument
                               Document26-1
                                         22 Filed
                                            Filed 08/22/22
                                                  05/31/22 Page
                                                           Page 11
                                                                3 ofof719




and all persons in active concert or participation with any Defendant having notice of this Order

are hereby restrained as follows:

       (1) From their unauthorized and unlicensed use, sale or offer for sale of products that

       infringe Plaintiff’s Design Patent; and (b) shipping, delivering, holding for sale,

       transferring or otherwise moving, storing, distributing, returning, or otherwise disposing

       of, in any manner products which infringe Plaintiff’s Design Patent;

       (2) from secreting, concealing, destroying, altering, selling off, transferring or otherwise

       disposing of and/or dealing with any computer files, data, business records, documents or

       any other records or evidence relating to their User Accounts, Merchant Storefronts, or

       any money, securities or other property or assets of Defendants related to their User

       Accounts (hereinafter collectively referred to as “Defendants’ Assets”), effecting

       assignments or transfers, forming new entities or associations, or creating and/or utilizing

       any other platform, Merchant Storefront or any other means of importation, exportation,

       advertising, marketing, promotion, distribution, or display for the purposes of

       circumventing or otherwise avoiding the prohibitions set forth in this Order;

       (3) each Defendant, its officers, directors, employees, agents, subsidiaries, distributors,

       and all persons in active concert or participation with any Defendant having notice of this

       Order shall immediately discontinue use of the any products that infringe Plaintiff’s

       Design Patent from use on any web page from any advertising links to other websites,

       from search engines’ databases or cache memory, and any other form of use such terms or

       works which is visible to a computer user or serves to direct computer searches to

       Internet based ecommerce stores owned, or operated in concert with a Defendant,

       including the Merchant Storefronts operating under the Seller IDs;




                                            Exhibit 1
                                                3
        Case
          Case
             2:22-cv-00367-CCW
               2:22-cv-00367-CCWDocument
                                 Document26-1
                                           22 Filed
                                              Filed 08/22/22
                                                    05/31/22 Page
                                                             Page 12
                                                                  4 ofof719




         (4) each Defendant shall not transfer ownership of the User Accounts or Merchant

         Storefronts associated with the Seller IDs;

         (5) each Defendant shall preserve copies of all computer files relating to the use of any

         User Accounts and/or Merchant Storefronts under the Seller IDs and shall take steps

         necessary to retrieve computer files relating to the use of the User Accounts and/or

         Merchant Storefronts under their Seller IDs that may been deleted before the entry of this

         Order;

         (6) Upon receipt of notice of this Order, Defendants and all financial institutions,

         payment processors, banks, escrow services, money transmitters, or marketplace

         platforms, including but not limited to Amazon.com, Inc. and its affiliate, Amazon

         Services LLC d/b/a Amazon.com (“Amazon”), eBay, Inc. d/b/a eBay.com (“eBay”) shall

         immediately identify and restrain all funds, as opposed to ongoing account activity, in or

         which are hereafter transmitted into the accounts related to the Defendants as identified

         on Schedule “A” hereto, as well as all funds in or which are transmitted into (i) any other

         accounts of the same customer(s); (ii) any other accounts which transfer funds into the

         same account(s), and/or any of the other accounts subject to this Order; and (iii) any other

         accounts tied to or used by any of the Seller IDs identified on Schedule “A” hereto;4

         (7) Upon receipt of notice of this Order, Defendants and all financial institutions, 5

         accepting payment for unauthorized sales, including payment processors, banks, escrow

         services, money transmitters, or marketplace platforms, shall immediately divert to a

         holding account for the trust of the Court all funds in or which are hereafter transmitted

4
  This Order contemplates that discovery may reveal that Defendants may have other user accounts and that the
additionally discovered account holders shall also be subject to the restraints and injunctions set forth in this Order.
5
  Financial Institutions, include, any banks, financial institutions, credit card companies and payment processing
agencies, such as Paypal, Inc. and Amazon Payments, Inc. d/b/a pay.amazon.com, and other companies or agencies
that engage in the processing or transfer of money and/or real or personal property of any Defendant.



                                                      Exhibit 1
                                                            4
Case
  Case
     2:22-cv-00367-CCW
       2:22-cv-00367-CCWDocument
                         Document26-1
                                   22 Filed
                                      Filed 08/22/22
                                            05/31/22 Page
                                                     Page 13
                                                          5 ofof719




into all accounts related to Defendants identified in Schedule “A” hereto, and associated

payment accounts, and any other accounts for the same customer(s) as well as any other

accounts which transfer funds into the same financial institution account(s) as any other

accounts subject to this Order. All financial institutions accepting such payments, and

restraining the subject funds shall, within five (5) business days of receiving this Order,

provide Plaintiff’s counsel with all data that details (i) an accounting of the total funds

restrained and identifies the financial account(s) which the restrained funds are related to,

and (ii) the account transactions related to all funds transmitted into financial account(s)

which have been restrained. Such restraining of the funds and the disclosure of the

related financial institution account information shall be made without notice to the

account holders, until after those accounts are restrained. No funds restrained by this

Order shall be transferred or surrendered for any purpose without express authorization of

this Court;

(8) Upon Plaintiff’s request, any Internet marketplace shall immediately cease fulfillment

of and sequester Defendants’ inventory assets corresponding to the Seller IDs identified

on Schedule “A” hereto in its inventory, possession, custody, or control, and hold such

goods in trust for the Court during pendency of this action;

(9) this Order shall apply to the Seller IDs, associated Accounts and Merchant

Storefronts, and any other seller identification names, Accounts or Merchant Storefronts,

Third Party Service Provider or financial institutions, or financial accounts which are

being used by Defendants for the purpose of infringing and profiting from Plaintiff’s

rights in its Design Patent;

(10) Defendants and financial institutions, payment processors, banks, escrow services,




                                     Exhibit 1
                                          5
       Case
         Case
            2:22-cv-00367-CCW
              2:22-cv-00367-CCWDocument
                                Document26-1
                                          22 Filed
                                             Filed 08/22/22
                                                   05/31/22 Page
                                                            Page 14
                                                                 6 ofof719




        money transmitters, or marketplace platforms may petition the Court to modify the asset

        restraint set forth in this Order;

        (11) this Order shall remain in effect until such further order issued by the

        Court or stipulated to by the parties.

        B. IT IS HREBY ORDERED, as sufficient cause has been shown, that the products as

pictured in Schedule “A” to the Complaint are either made, used by, offered for sale or sold into the

United States contain every element or equivalent of at least one claim of the ‘488 Patent:

        (1) Amazon and eBay shall be restrained and enjoined from processing payments for

        sales of bicycle saddle products identified by the Plaintiff as either identical or substantially

        similar to the products listed in Schedule “A” to the Complaint that has not been authorized

        by Plaintiff; Plaintiff shall provide notice to Amazon and eBay of Plaintiff’s authorized

        sellers;

        (2) upon Plaintiff’s request, Amazon and eBay respectively shall remove listings and/or

        advertisements for any product that Plaintiff identifies as being either identical or

        substantially similar to the products listed in Schedule “A” to the Complaint; and

        (3) related Financial Institutions that are collecting funds from sales of Infringing

        Products are hereby restrained from cooperating in the secreting, concealing, transferring,

        disposing of, withdrawing, encumbering or paying Defendants’ Assets from or to

        financial accounts associated with or utilized by any Defendant (“Defendants’ Financial

        Accounts”) until further ordered by this Court; and

        C. IT IS HEREBY ORDERED, as sufficient cause has been shown, (1) that no funds

restrained by this Order shall be transferred or surrendered for any purpose without express

authorization of this Court; (2) any Defendant or financial institution/ financial account holder

subject to this Order may petition the Court to modify the asset restraint set out in this Order;



                                                 Exhibit 1
                                                     6
       Case
         Case
            2:22-cv-00367-CCW
              2:22-cv-00367-CCWDocument
                                Document26-1
                                          22 Filed
                                             Filed 08/22/22
                                                   05/31/22 Page
                                                            Page 15
                                                                 7 ofof719




and (3) this Order shall remain in effect until such further dates as set by the Court or stipulated

by the parties.

II.    Security Bond

       IT IS FURTHER ORDERED, the $5,000.00 bond posted by Plaintiff shall remain with

the Court until a final disposition of this case or until this Preliminary Injunction Order is

terminated.



       IT IS SO ORDERED.


       DATED this 31st day of May, 2022.


                                              BY THE COURT:



                                              /s/ Christy Criswell Wiegand
                                              CHRISTY CRISWELL WIEGAND
                                              United States District Judge



cc (via ECF email notification):

All Counsel of Record




                                            Exhibit 1
                                                 7
     Case
      Case2:22-cv-00367-CCW
            2:22-cv-00367-CCWDocument
                              Document26-1
                                       1-1 Filed
                                           Filed08/22/22
                                                 03/01/22 Page
                                                          Page16
                                                               1 of
                                                                  of419




                                 Schedule A


Nu   Defendant        Sample              ASIN         Trademark Address              Business Address                 Link
mb
er
1    FOUJOY                           B07WCLZHKH   No.1,Ln1066,Sanwu              Ningbo Zhenhai               https://www.amazon.co
                                                   Rd,Luotuo St,Zhenhai           Yongcheng Zhiyi Co.,Ltd.     m/FOUJOY-
                                                   Ningbo, 315000                                              Comfortable-Oversized-
                                                                                  Room 11-4, No. 1, Lane       Breathable-
                                                                                  1066, Sanwu Road,            Replacement/dp/B07WL
                                                                                  Luotuo street, Zhenhai       YRZMV/ref=sr_1_204?d
                                                                                  District, Ningbo,            child=1&keywords=bike
                                                                                  Zhejiang,315202, CN
                                                                                                               +seat&qid=1610060201
                                                                                                               &sr=8-204




2     YBEKI                          B0824TCM5N    Yao Jianbing INDIVIDUAL        Shenzhen shirui tenuo            https://www.amazo
                                                   CHINA                          trading company Ltd.         n.com/YBEKI-
                                                                                                               Comfortable-Seat-
                                                   No.44, Jitouling Group,        501, No. 95,                 Bicycle-Thickened-
                                                   Huangjia Village Taiyuan       GangbianFang, Futian         Breathable/dp/B0824TC
                                                   Village, Nanfeng County        community, Futian street,    M5N/ref=sr_1_16?dchil
                                                   Fuzhou, Jiangxi, 344000        Futian District, Shenzhen,   d=1&keywords=bike+se
                                                                                  Guangdong,518000,CN          at&qid=1610059238&sr
                                                                                                               =8-16



3    LINGMAI                         B07C68LZKV    Shunde District of Foshan      Feng Sha He geng xin cun          https://www.amazo
                                                   Shun Di commerce Co., Ltd.     Da Dao 9 lane, No6，Fo        n.com/LINGMAI-
                                                   CHINA                          Shan Shi，Shun De Du          Comfortable-Oversize-
                                                                                  Da Liang，528300，CN           Stationary-Oversize-
                                                   the New Village of Sand Lane                                02/dp/B07C68LZKV/ref
                                                   No. 9 Fengsha, Daliang                                      =pd_di_sccai_33?pd_rd
                                                   Shunde District FoShan,                                     _w=4LLVJ&pf_rd_p=c9
                                                   Guangdong CHINA 528300                                      443270-b914-4430-
                                                                                                               a90b-
                                                                                                               72e3e7e784e0&pf_rd_r
                                                                                                               =C1H9M16065J8YRTP
                                                                                                               70QW&pd_rd_r=b81b3
                                                                                                               3f3-36f3-47f0-8b63-
                                                                                                               5e7e82a25af3&pd_rd_w
                                                                                                               g=iKK2H&pd_rd_i=B0
                                                                                                               7C68LZKV&psc=1




4    SUNJOYCO                         B088Z1XJ5H   Shenzhen Neoteric              853 E Ohio Ave, Denver,      https://www.amazon.co
                                                   Technology Development         Colorado,80209,US            m/Comfortable-
                                                   CO., LTD CHINA                                              Suspension-Waterproof-
                                                                                                               Replacement-
                                                   RM 1202A FLR 2 BLDG 1                                       Stationary/dp/B088Z1XJ
                                                   Bachelor Dormitory Meilin                                   5H/ref=sr_1_302?dchild
                                                   Duoli Industry Area, Beihuan                                =1&keywords=bike+sea
                                                   Rd. Futian Distr.,Shenzhen,                                 t&qid=1610061432&sr=
                                                   518000                                                      8-302




5    FANCYES                         B098348D21    Du,Mingzheng                   shenzhen yinan trading           https://www.amazo
                                                   INDIVIDUAL CHINA               company Ltd.                 n.com/Fancyes-
                                                   Group 6,Qianxiaohuai Vil       101, Yinfeng building,       Oversize-Bicycle-
                                                   Huangfu Tn,Wanrong County      No. 2, Haihua Road, zone     Replacement-
                                                   Xuzhou CHINA 471002            50, Haihua community,        Universal/dp/B098348D
                                                                                  Xin'an street, Bao'an        21/ref=sr_1_298?crid=X
                                                                                  District, Shenzhen,          5YP3W2JGEQV&dchild=
                                                                                  Guangdong, 518000, CN
                                                                                                               1&keywords=bike+seat+
                                                                                                               oversized&qid=1630626
                                                                                                               558&sprefix=bike+seat+
                                                                                                               overs%2Caps%2C235&sr
                                                                                                               =8-298




                                  Exhibit 1
     Case
      Case2:22-cv-00367-CCW
            2:22-cv-00367-CCWDocument
                              Document26-1
                                       1-1 Filed
                                           Filed08/22/22
                                                 03/01/22 Page
                                                          Page17
                                                               2 of
                                                                  of419



6    AUCARKEE                        B093KD3RVS   Shenzhen saihailun            202, building 1, No. 4,         https://www.amazo
                                                  Technology Co.,               Tiancheng Road, Gaofeng     n.com/Oversized-
                                                  Ltd，CHINA                     community, Dalang street,   Comfortable-Cushion-
                                                  Rm.301, Bldg.11, Heyueju,     Longhua District,           Absorbing-
                                                  Niushipu Rd Henggang St.,     Shenzhen, Guangdong,        Waterproof/dp/B093KD
                                                  Longgang Dist. ShenZhen       518109, CN                  3RVS/ref=sr_1_29?crid=
                                                  CHINA 518173                                              3PJ700C2BAO0S&dchild
                                                                                                            =1&keywords=bike+seat
                                                                                                            +oversized&qid=163062
                                                                                                            0484&sprefix=bike+seat
                                                                                                            +over%2Caps%2C249&s
                                                                                                            r=8-29

7     DAWAY                          B08S3H18B8   Chen JianXi INDIVIDUAL                                         https://www.amazo
                                                  CHINA                         UGOOD LTD.                  n.com/DAWAY-
                                                  No.612,No.5 Liyuan Bachelor                               Oversized-Comfortable-
                                                  Block,Luohu District          1942 Broadway               Bike-
                                                  Shenzhen CHINA 518000         Street,STE 314C,            Seat/dp/B08S3H18B8/re
                                                                                Boulder,Co, 80302, US       f=sr_1_24?crid=3PJ700C
                                                                                                            2BAO0S&dchild=1&key
                                                                                                            words=bike+seat+oversi
                                                                                                            zed&qid=1630620484&s
                                                                                                            prefix=bike+seat+over%
                                                                                                            2Caps%2C249&sr=8-24

8    MONDAY                          B08CZTKRZ1   N/A                           TaiAn DongYuan MenYe             https://www.amazo
                                                                                Co., Ltd. CHINA             n.com/Comfort-Bicycle-
                                                                                                            Oversize-Waterproof-
                                                                                Laocheng sub district       Cruiser/dp/B08CZTKRZ
                                                                                office, No. 11 Jianshe      1/ref=sr_1_116?dchild=
                                                                                Road, Tai'an City,          1&keywords=bike+seat
                                                                                Feicheng City, Shandong     &qid=1610059836&sr=
                                                                                Province, 27100, CN         8-116




9      LAUS                          B091THB2ZQ   Shenzhen Pinlv Technology                                     https://www.amazo
                                                  Co., Ltd. CHINA               eboeee storefront           n.com/LAUS-Oversized-
                                                                                                            Comfort-Comfortable-
                                                  F/D9, Bldg.5, Software Ind.                               Replacement/dp/B091T
                                                  Base, No.16 Haitian 2 Rd.,    No. 11, No. 13, No. 15,     HB2ZQ/ref=sr_1_39?crid
                                                  Binhai Community Nanshan      No. 14, No. 16, Haitian     =3PJ700C2BAO0S&dchil
                                                  Dist.,Shenzhen CHINA          Second Road, Binhai         d=1&keywords=bike+se
                                                  518000                        community, Yuehai street,
                                                                                                            at+oversized&qid=1630
                                                                                D9 floor, building 5,
                                                                                                            620484&sprefix=bike+se
                                                                                software industry base,
                                                                                Nanshan District,           at+over%2Caps%2C249
                                                                                Shenzhen, Guangdong,        &sr=8-39
                                                                                518000, CN




10   SIHMQIK                         B089T6721K   Shenzhen Chameiee Leather     Shenzhen Chameiee               https://www.amazo
                                                  Co.,Ltd. limited company      leather Co., Ltd            n.com/dp/B089T6721K/
                                                  (ltd.) CHINA                                              ref=sspa_dk_detail_6?ps
                                                                                Rm 201,No.29,Longda         c=1&pd_rd_i=B089T67
                                                  Rm 201,No.29,Longda           Community, Hongji Rd        21Kp13NParams&spLa
                                                  Community, Hongji Rd          Longdong Area,Longgang      =ZW5jcnlwdGVkUXVh
                                                  Longdong Area,Longgang        Str,Longgang Dist           bGlmaWVyPUEyR09X
                                                  Str,Longgang Dist Shenzhen    Shenzhen,518116, CN         UldYT082WkxRJmVuY
                                                  CHINA 518000                                              3J5cHRlZElkPUExMD
                                                                                                            AxMjEyUFpFQk1ZMz
                                                                                                            RZSDczJmVuY3J5cHRl
                                                                                                            ZEFkSWQ9QTAyMTky
                                                                                                            NzEyMUpHQjRITVBX
                                                                                                            RTc5JndpZGdldE5hbW
                                                                                                            U9c3BfZGV0YWlsMiZ
                                                                                                            hY3Rpb249Y2xpY2tSZ
                                                                                                            WRpcmVjdCZkb05vdE
                                                                                                            xvZ0NsaWNrPXRydW
                                                                                                            U=




                                  Exhibit 1
     Case
      Case2:22-cv-00367-CCW
            2:22-cv-00367-CCWDocument
                              Document26-1
                                       1-1 Filed
                                           Filed08/22/22
                                                 03/01/22 Page
                                                          Page18
                                                               3 of
                                                                  of419



11    NEUFLY                         B08VFQWC4Y   Shenzhen Weida Trading       Shenzhen hongruimiao             https://www.amazo
                                                  Technology Co., Ltd. CHINA   Trade Co., Ltd              n.com/NEUFLY-
                                                  2602, Block 4, Haixuan                                   Oversized-Comfort-
                                                  Plaza, 89 Jinlong Rd,        1103, No. 4, 1st lane,      Bicycle-
                                                  Luogang Community, Buji St   CHANGKENG District,         Waterproof/dp/B08VFQ
                                                  Longgang Dist, Shenzhen,     Yangmei community,          WC4Y/ref=sr_1_10?crid
                                                  CHINA 518000                 Bantian street, Longgang    =3PJ700C2BAO0S&dchil
                                                                               District, Shenzhen,
                                                                                                           d=1&keywords=bike+se
                                                                               Guangdong Province,
                                                                                                           at+oversized&qid=1630
                                                                               518000, CN
                                                                                                           620484&sprefix=bike+se
                                                                                                           at+over%2Caps%2C249
                                                                                                           &sr=8-10



12    ACCOT                          B07X6CT7NF   ShenZhenShi LeMeng           Shenzhenshi Longhuaqu            https://www.amazo
                                                  Network Technology Co.LTD    Dalangjiedao,Shenzhen,51    n.com/ACCOT-
                                                  LIMITED LIABILITY            8000,CN                     Waterproof-Bicycle-
                                                  COMPANY CHINA                                            Cushion-
                                                                                                           Univesal/dp/B07X6CT7
                                                                                                           NF/ref=sr_1_73?dchild=
                                                                                                           1&keywords=bike+seat
                                                                                                           &qid=1610059238&sr=
                                                                                                           8-73




13    SGODDE                         N/A          Shenzhen Yisi Technology     N/A                              https://www.amazo
                                                  Co., Ltd limited company                                 n.com/SGODDE-
                                                  (ltd.) CHINA                                             Oversized-Comfortable-
                                                                                                           Stationary-
                                                                                                           Waterproof/dp/B086JM
                                                                                                           KL4Z/ref=sr_1_202?dch
                                                                                                           ild=1&keywords=bike+s
                                                                                                           eat&qid=1610060201&s
                                                                                                           r=8-202




14   NOVASHIO                        N/A          N/A                          N/A                             https://www.walmar
        N                                                                                                  t.com/ip/Oversized-
                                                                                                           Comfort-Bike-Seat-
                                                                                                           Most-Comfortable-
                                                                                                           Replacement-Bicycle-
                                                                                                           Saddle-Universal-Fit-
                                                                                                           Exercise-Outdoor-Bikes-
                                                                                                           Suspension-Wide-Soft-
                                                                                                           Padded/437078869




15   EBIKELING                       B08XFS73MQ   EFE International Inc AKA    5658 W Fillmore                https://www.amazon.com/
                                                  Ebikeling CORPORATION        St,Chicago, IL, 60644, US   dp/B08XBYL4B8/ref=sspa_
                                                                                                           dk_detail_1?psc=1&pd_rd_i
                                                  ILLINOIS Suite 107 2246                                  =B08XBYL4B8&pd_rd_w=
                                                  Palmer Dr Schaumburg                                     MKu3q&pf_rd_p=7771f1a2-
                                                  ILLINOIS 60173/ 5658 W                                   d77a-4098-a19e-
                                                  Fillmore St, Chicago,                                    6d9a1e65f44d&pd_rd_wg=9
                                                  IL,60644, US                                             VsWf&pf_rd_r=JJJ0J03JEZ5
                                                                                                           1S2X9S89D&pd_rd_r=852e
                                                                                                           1d1b-0574-4720-8678-
                                                                                                           8e851272ab80&smid=A18N
                                                                                                           QE175QQAZM&spLa=ZW5
                                                                                                           jcnlwdGVkUXVhbGlmaWV
                                                                                                           yPUEyR09XUldYT082Wkx
                                                                                                           RJmVuY3J5cHRlZElkPUEw
                                                                                                           NjQ3NTgyMUVKMTY4SD
                                                                                                           hRVkpCUyZlbmNyeXB0Z
                                                                                                           WRBZElkPUExMDI4NzMw
                                                                                                           NTlVREhDSjZCMldPJndpZ
                                                                                                           GdldE5hbWU9c3BfZGV0Y
                                                                                                           WlsJmFjdGlvbj1jbGlja1JlZG
                                                                                                           lyZWN0JmRvTm90TG9nQ2
                                                                                                           xpY2s9dHJ1ZQ==




                                  Exhibit 1
     Case
      Case2:22-cv-00367-CCW
            2:22-cv-00367-CCWDocument
                              Document26-1
                                       1-1 Filed
                                           Filed08/22/22
                                                 03/01/22 Page
                                                          Page19
                                                               4 of
                                                                  of419



16     IPOW                          B08TQTBZY8   Shenzhen Jingdu Technology     Shenzhen Houxin Trading        https://www.amazon.c
                                                  Co., Ltd. CHINA                Co., Ltd.                 om/IPOW-Oversized-
                                                  3A02, Bldg. A, Huashenghui,    C1-707, Building C,       Thickened-Waterproof-
                                                                                                           Universal/dp/B08TQTBZY8/r
                                                  Qianjin 2nd Rd. Xixiang St.,   Bantian International
                                                                                                           ef=sr_1_52?crid=3PJ700C2B
                                                  Bao'an Dist. Shenzhen City     Center,Huancheng South    AO0S&dchild=1&keywords=
                                                  CHINA                          Road No. 5, Ma'antang     bike+seat+oversized&qid=16
                                                                                 Community, Bantian        30620484&sprefix=bike+seat
                                                                                 St.Longgang District,     +over%2Caps%2C249&sr=8-
                                                                                 Shenzhen,Guangdong,518    52
                                                                                 000,CN




17   NONBRAND                        B08BJW9SWQ   N/A                            N/A                            https://www.amazon.c
                                                                                                           om/Seat-Oversized-
                                                                                                           Comfortable-Cushion-Extra-
                                                                                                           Replacement-Universal-
                                                                                                           Soft/dp/B08BJW9SWQ/ref=s
                                                                                                           r_1_227?crid=X5YP3W2JGEQ
                                                                                                           V&dchild=1&keywords=bike
                                                                                                           +seat+oversized&qid=16306
                                                                                                           25930&sprefix=bike+seat+ov
                                                                                                           ers%2Caps%2C235&sr=8-227



18    YQ&TL                          B0972ZQQTK   N/A                            N/A                            https://www.amazon.c
                                                                                                           om/YQ-TL-Comfortable-
                                                                                                           Replacement-Ball-
                                                                                                           Universal/dp/B0972ZQQTK/r
                                                                                                           ef=sr_1_248?crid=X5YP3W2J
                                                                                                           GEQV&dchild=1&keywords=
                                                                                                           bike+seat+oversized&qid=16
                                                                                                           30625930&sprefix=bike+seat
                                                                                                           +overs%2Caps%2C235&sr=8-
                                                                                                           248


19   WUSUOWEI                        B09C5MCHF5   N/A                            N/A                            https://www.amazon.c
                                                                                                           om/Wusuowei-Oversized-
                                                                                                           Bicycle-Comfortable-
                                                                                                           Replacement/dp/B09C5MCH
                                                                                                           F5/ref=sr_1_280?crid=X5YP3
                                                                                                           W2JGEQV&dchild=1&keywor
                                                                                                           ds=bike+seat+oversized&qid
                                                                                                           =1630626330&sprefix=bike+
                                                                                                           seat+overs%2Caps%2C235&s
                                                                                                           r=8-280




20   GAODINGD                        B09D9F1YNT   N/A                            N/A                             https://www.amazon.c
                                                                                                           om/GAODINGD-Shock-
                                                                                                           Absorbing-Comfortable-
                                                                                                           Electric-
                                                                                                           Oversized/dp/B09D9F1YNT/r
                                                                                                           ef=sr_1_291?crid=X5YP3W2J
                                                                                                           GEQV&dchild=1&keywords=
                                                                                                           bike+seat+oversized&qid=16
                                                                                                           30626330&sprefix=bike+seat
                                                                                                           +overs%2Caps%2C235&sr=8-
                                                                                                           291



21    DAOZX                          B0932GTV43   N/A                            N/A                            https://www.amazon.c
                                                                                                           om/DAOZX-Comfortable-
                                                                                                           Oversized-Breathable-
                                                                                                           Universal/dp/B0932K7TSJ/re
                                                                                                           f=sr_1_301?crid=X5YP3W2JG
                                                                                                           EQV&dchild=1&keywords=bi
                                                                                                           ke+seat+oversized&qid=163
                                                                                                           0626810&sprefix=bike+seat+
                                                                                                           overs%2Caps%2C235&sr=8-
                                                                                                           301




                                  Exhibit 1
